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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )
                                    )                 4:04CR3081
          v.                        )
                                    )
BRIAN PARKER,                       )
                                    )                    ORDER
                Defendant.          )
                                    )



     IT IS ORDERED:

     1. Defendant’s motion for continuance, filing 78, is
granted and trial of this matter is continued to 9:00 a.m.,
August 29, 2005 for three days, before the Honorable Richard G.
Kopf in Courtroom 1, United States Courthouse and Federal
Building, 100 Centennial Mall North, Lincoln, Nebraska. Jury
selection will be held at commencement of trial.

     2. The ends of justice will be served by granting such a
motion, and outweigh the interests of the public and the
defendant in a speedy trial, and the additional time arising as a
result of the granting of the motion, the time between
August 8, 2005 and August 29, 2005 shall be deemed excludable
time in any computation of time under the requirements of the
Speedy Trial Act, for the reason that the parties require
additional time to adequately prepare the case, taking into
consideration due diligence of counsel, the novelty and
complexity of the case, and the fact that the failure to grant
additional time might result in a miscarriage of justice.
18 U.S.C. § 3161(h)(8)(A) & (B).

     DATED this 8th day of August, 2005.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
